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 5
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 6   United States of America
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,             )   CASE NO.:    1:12-cr-00328 LJO
                                           )
11                    Plaintiff,           )   STIPULATION AND ORDER
                                           )   CONTINUING SENTENCING HEARING
12                                         )
                                           )   Old Date: September 3, 2013
13              v.                         )   Old Time: 8:30 a.m.
                                           )
14                                         )   New Date: Sep. 23, 2013
                                           )   New Time: 8:30 a.m.
15   ALVARO TORRES,                        )   Court:     Four
                                           )     (Hon. Lawrence J. O’Neill)
16                    Defendant.           )
                                           )
17
18        Defendant Alvaro Torres pleaded guilty to count one, Conspiring
19   to Distribute Methamphetamine.      Sentencing is currently set for
20   September 3, 2013, at 8:30 a.m.
21        The parties agree that there is good cause for a continuance and
22   hereby stipulate and jointly request that the Court order that the
23   sentencing hearing in this case be continued from September 3, 2013
24   to September 23, 2013, at 8:30 a.m., or the earliest date thereafter
25   that is convenient to the Court.      The parties further stipulate and
26   jointly request that the Court extend the deadline to submit informal
27   objections to the Pre-Sentence Report (PSR) to three weeks prior to
28   the continued sentencing date, and extend the deadline to file formal
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 1   objections to the PSR to one week prior to the continued sentencing
 2   date.
 3                                              Respectfully submitted,
 4   Dated: August 28, 2013                     BENJAMIN B. WAGNER
                                                United States Attorney
 5
 6                                      By: /s/Kathleen A. Servatius
                                            KATHLEEN A. SERVATIUS
 7                                          Assistant U.S. Attorney
 8
 9   Dated: August 28, 2013                     /s/ Peter Jones
                                                (authorized on 8/28/13)
10                                              PETER Jones
                                                Attorney for Defendant
11                                              Alvaro Torres
12
13                                        ORDER
14            The court has reviewed and considered the stipulation of the
15   parties to continue the sentencing hearing in this case.            Good cause
16   appearing, IT IS ORDERED that the sentencing hearing is continued
17   from September 3, 2013 to September 23, 2013, at 8:30 a.m., and that
18   the deadlines to submit informal objections and to file formal
19   objections to the Pre-Sentence Report are extended as set forth
20   above.
21   IT IS SO ORDERED.
22   Dated:     August 28, 2013        /s/ Lawrence J. O'Neill   B9ed48
                                       UNITED STATES DISTRICT JUDGE
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